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                                                 #:866



 1    Arjun Vasan
 2    arjun.vasan@gmail.com
 3    12615 193rd Street
 4    Cerritos, CA 90703
 5    562-900-6541
 6    Plaintiff in Pro Per
 7
 8
 9                           UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
10
11
       Arjun Vasan,                                        Case No.: 2:25−cv−00765−MEMF−JPR
12
                    Plaintiff,                             Hon. Maame Ewusi-Mensah Frimpong
13
             vs.
14                                                         PLAINTIFF’S REQUEST FOR
       Checkmate.com, Inc.,
15                                                         JUDICIAL NOTICE RE: TIMELY
       (dba “Checkmate”),                                  REMOVAL OF NEW YORK STATE
16
                    Defendant.                             CASE, TIMELY RESPONSE TO
17                                                         COMPLAINT AND DEFENDANT’S
18                                                         MOOT OBJECTION TO GRANTED
                                                           EXTENSION TO RESPOND; AND
19
                                                           DECLARATION OF ARJUN VASAN.
20
21                                                         Complaint Filed: January 28, 2025
22
23
24    TO THE HONORABLE COURT:
25           Plaintiff respectfully requests that the Court take judicial notice, pursuant to Federal Rule
26    of Evidence 201(b), of certain facts reflected in the record of this case and in the related removed
27    New York state action. Specifically, Plaintiff requests judicial notice of documents regarding: (1)
28    Plaintiff’s timely removal of the New York Supreme Court action; (2) Plaintiff’s timely filing of
                                                       1

                                         REQUEST FOR JUDICIAL NOTICE
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 1    a response to Defendant’s complaint; and (3) Defendant’s subsequent objection to an already
 2    granted extension of time for Plaintiff to respond.
 3            Judicial notice is appropriate because these facts are not subject to reasonable dispute.
 4    They are reflected in official court filings and docket entries whose accuracy cannot reasonably
 5    be questioned. See Fed. R. Evid. 201(b); see also United States v. Black, 482 F.3d 1035, 1041
 6    (9th Cir. 2007) (courts may take judicial notice of their own records and filings); Reyn’s Pasta
 7    Bella, LLC v. Visa USA, Inc., 442 F.3d 741, 746 n.6 (9th Cir. 2006) (taking judicial notice of
 8    filings in related litigation).
 9
10    FACTS & DOCUMENTS SUBJECT TO NOTICE:
11            Plaintiff respectfully requests that the Court take judicial notice of the following:
12        1. April 12, 2025: Notice of Removal filed by Plaintiff of the New York State action (Case
13            No. 650913/2025), to the Southern District of New York (SDNY). (Ex. A)
14        2. April 12, 2025: Notice of Removal served to counsel for Checkmate. (Ex. B)
15        3. April 19, 2025: Plaintiff’s request for extension to Hon. Judge Jesse Furman. (Ex. A)
16        4. April 19, 2025: Service to all 6 K&L Gates attorneys representing Checkmate. (Ex. C)
17        5. April 21, 2025: Pending approval of the extension, Plaintiff proceeds to timely file a
18            complete Motion to Quash Checkmate’s complaint. (Ex. A)
19        6. April 22, 2025: Appearance of Thomas Warns, Esq., attorney for Checkmate, 10 days
20            after removal, in a case filed by Checkmate. (Ex. A)
21        7. April 22, 2025: Hon. Judge Furman grants Plaintiff’s request for extension. (Ex. A)
22        8. April 24, 2025: Warns objects to Plaintiff’s already-granted extension to respond. (Ex. D)
23
24    RELEVANCE TO THIS MATTER
25            Plaintiff intends to shortly file a Motion for Preliminary Injunction to Enjoin Defendant’s
26    New York Action as duplicative, unnecessary and burdensome on judicial resources. These
27    documents relate to Defendant’s concern or lack of concern for judicial economy.
28
                                                        2

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 1    CONCLUSION
 2           For the foregoing reasons, Plaintiff respectfully requests that the Court take judicial
 3    notice of the procedural facts and documents described above. Any necessary authentications are
 4    provided by the declaration provided herewith.
 5
 6    DECLARATION OF ARJUN VASAN
 7           I, Arjun Vasan, declare as follows:
 8       1. I am the Plaintiff in this action, appearing in pro per. I have personal knowledge of the
 9           facts set forth in this declaration and, if called upon to testify, could and would testify
10           competently to them under oath.
11       2. True and correct screenshots of the docket in the SDNY case are provided as Exhibit A.
12       3. Exhibit B is a true and correct copy of the April 12th service email for Removal.
13       4. Exhibit C is a true and correct copy of the April 19th service email for Extension.
14       5. Exhibit D is a true and correct copy of the April 24th Letter from Attorney Warns.
15
16    I declare under penalty of perjury under the laws of the United States of America that the
17    foregoing is true and correct.
18
                                                            Respectfully Submitted,
19
20
21     Executed on: Saturday, April 26, 2025,

22     In Cerritos, CA
                                                            /s/ Arjun Vasan
23
                                                By:         ___________________________________
24
25                                                          Arjun Vasan
                                                            Plaintiff In Pro Per
26
27
28
                                                        3

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                  EXHIBIT A
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                                   #:870
 DOCKET REPORT                   Exhibit A           S.D.N.Y 1:25-cv-03181-JMF
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                                   #:871
 DOCKET REPORT                   Exhibit A           S.D.N.Y 1:25-cv-03181-JMF
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                                   #:872
 DOCKET REPORT                   Exhibit A           S.D.N.Y 1:25-cv-03181-JMF
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                  EXHIBIT B
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                                                        #:874

                                                                                     Arjun Vasan <arjun.vasan@gmail.com>



Service of Notice of Removal – Checkmate.com, Inc. v. Arjun Vasan, Index No.
650913/2025
1 message

Arjun Vasan <arjun.vasan@gmail.com>                                                      Sat, Apr 12, 2025 at 10:23 AM
To: zach.jones@klgates.com, tom.warns@klgates.com, "Keech, Ryan Q." <ryan.keech@klgates.com>, "Makitalo, Rebecca I."
<rebecca.makitalo@klgates.com>, "Huey, Gabriel M." <Gabriel.Huey@klgates.com>, "Chiu, Stacey G."
<Stacey.Chiu@klgates.com>


 Dear Counsel,



 Pursuant to 28 U.S.C. § 1446(d), please find attached the Notice of Removal filed today in the United States District Court
 for the Southern District of New York in connection with Checkmate.com, Inc. v. Arjun Vasan, Index No. 650913/2025
 (filed by your client in New York State Supreme Court). The filing includes the following documents:

      1. Notice of Removal

      2. Civil Cover Sheet (JS-44)

      3. Exhibit A – Summons, Complaint, Request for Judicial Intervention, and Affidavit of Service

      4. Exhibit B – Notice of Pendency filed in the related California action

 A copy of this Notice is also being filed with the Clerk of the New York Supreme Court, County of New York.

 Please consider this email service upon Plaintiff in accordance with federal procedural rules. If you object to service by
 email, please notify me immediately and indicate your preferred method of service.



 Respectfully,

 Arjun Vasan

 12615 193rd Street

 Cerritos, CA 90703

 (562) 900-6541

 arjun.vasan@gmail.com


  4 attachments
      Notice_of_Removal_SDNY_April2025.pdf
      160K
      Exhibit A - 650913_2025_Checkmate_com_Inc_v_Arjun_Vasan_SUMMONS___
      COMPLAINT_1_RJI_AFFADAVIT.pdf
      1801K
      Exhibit B - Notice of Pendancy.pdf
      16620K
      Civil Cover Sheet.pdf
      1439K
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                                  ID #:875




                 EXHIBIT C
      Case 2:25-cv-00765-MEMF-JPR                 Document 50          Filed 04/26/25      Page 11 of 14 Page
                                                      ID #:876

                                                                                  Arjun Vasan <arjun.vasan@gmail.com>



Service of Motion for Extension of Time – Checkmate.com, Inc. v. Vasan, 1:25-cv-
03181-JMF
1 message

Arjun Vasan <arjun.vasan@gmail.com>                                                       Sat, Apr 19, 2025 at 8:24 AM
To: zach.jones@klgates.com, tom.warns@klgates.com, "Keech, Ryan Q." <ryan.keech@klgates.com>, "Makitalo, Rebecca I."
<rebecca.makitalo@klgates.com>, "Huey, Gabriel M." <Gabriel.Huey@klgates.com>, "Chiu, Stacey G."
<Stacey.Chiu@klgates.com>


 Counsel,

 Please find attached a copy of my Motion for Extension of Time to Respond to the Complaint, which I have filed today with
 the U.S. District Court for the Southern District of New York. I am proceeding pro se and currently finalizing my ECF
 registration.

 This constitutes service under Federal Rule of Civil Procedure 5(b)(2)(E).



 Respectfully,

 Arjun Vasan

 562-900-6541

 arjun.vasan@gmail.com


      extension.pdf
      225K
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                                  ID #:877




                 EXHIBIT D
      Case 2:25-cv-00765-MEMF-JPR                 Document 50    Filed 04/26/25          Page 13 of 14 Page
                                                      ID #:878




                                                                     Thomas A. Warns
                                                                     Partner
                                                                     tom.warns@klgates.com
        April 24, 2025                                               T +1 212 536 4009
                                                                     F +1 212 536 3901


        Hon. Jesse M. Furman
        Thurgood Marshall Courthouse
        40 Foley Square
        New York, NY 10007

        Re:      Checkmate.com Inc. v. Arjun Vasan, Case No. 25-cv-03181-JMF - Response to
                 Defendant’s Request for Extension

        Dear Judge Furman,

        I write on behalf of Checkmate.com, Inc. (“Checkmate”) in opposition to the recent letter from pro
        se Defendant Arjun Vasan requesting a 14-day extension of time to file a responsive pleading in
        this matter, as well as to provide your Honor with additional context regarding the timeline of this
        dispute. Mr. Vasan’s proposed two-week extension is entirely unnecessary given the amount of
        time that he has been on notice of the Complaint filed against him in New York State Court.

        Last week, Mr. Vasan decided (without conferring with counsel for Plaintiff) to remove this case
        from New York State Court, where it has been pending since Checkmate filed its Complaint on
        February 14, 2025. Despite having received a copy of the initial pleadings in this case as early as
        March 4, Mr. Vasan has apparently made no attempt to secure counsel, and did not file any
        response or even make an appearance in the state court matter until purportedly filing his notice
        of removal on April 12th (although the removal filing was docketed on April 17th).

        Granting Mr. Vasan an additional two weeks here would mean that he will have had nearly two
        months after initial service of the Complaint to respond. While we are aware that Mr. Vasan now
        appears to be challenging the adequacy of service of process against him, the truth is that Mr.
        Vasan was sending letters referencing the Complaint and threatening sanctions against counsel
        for Checkmate only a few days after the Complaint was (properly) served on him in early March.

        While Plaintiff reserves the right to respond to Mr. Vasan’s inadequate service of process
        arguments at a later date when those arguments are properly presented, two months to file a
        responsive pleading seems excessive given 1) the relatively short length of the Complaint 2) the
        fact that a Defendant would typically only receive 21 days to respond in a normal case and 3) Mr.




K&L GATES LLP
599 LEXINGTON AVENUE NEW YORK NY 10022-6030
T +1 212 536 3900 F +1 212 536 3901 klgates.com
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                                          ID #:879




 Vasan’s repeated (and inexplicable) delays in this case. As a result, Checkmate respectfully asks
 that such request be denied, or that Defendant’s deadline to respond to the Complaint be
 extended by a shorter and more appropriate length of time.

 Checkmate reserves all rights and waives none.


 Respectfully,

 /s/ Thomas A. Warns

 Thomas A. Warns
 Partner




                                                2
                                                                                        April 23, 2025
